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                                                                                   January 1, 2019
Via ECF
Hon. I. Leo Glasser, USDJ-EDNY
225 Cadman Plaza East
Brooklyn, New York 11201
                                      Re:     United States v. Felix Sater
                                              Docket No. 98-cr-1101
Dear Judge Glasser:
        Motions to unseal two separate transcripts (dated 4/27/11 and 1/10/12) that I made in
behalf of my client Frederick Oberlander have been sub judice for about nine months, since April
17, 2108. About seven months ago, on June 7, 2018, the Second Circuit issued an order
reconfirming that you have the authority to decide these motions. That Second Circuit order was
docketed in this matter, 98-cr-1101, at Docket Entry No. 243.
       As I previously indicated, their unsealing is necessary for me to complete an article that I
am writing about this case, but regardless of my need for the transcripts, the public also has a
First Amendment right to access these transcripts.
        Moreover, since my filing of the original motion, additional evidence has come to light
that supports unsealing.
         First, there is now official governmental confirmation that this 98-cr-1101 case was either
never sealed, or if it had been sealed, it became unsealed long ago – in 2004 – well before my
client's involvement in this matter.
        Pursuant to FRE 230 I submit for the court's notice a June 8, 2018, letter, Ex. A, from
Ms. Stephanie Mark, Supervisory Archives Specialist at the Lee Summit National Archives. It
documents that the files for the Felix Sater, Salvatore Lauria and Gennady Klotsman criminal
proceedings were all sent to the National Archives, Lee’s Summit Federal Record Center, by the
clerk of the Eastern District of New York in 2004. Critically, Ms. Mark confirms that these
records arrived at the archives unsealed and were “immediately available to the public.”
        This revelation confirms that at least by then, 2004, there was “no sealing order” in
Sater’s case – as your honor conceded at the June 14, 2010, hearing. Accordingly, since his
case wasn’t sealed, and since it was, according to the National Archives, made available to the
public when it was sent to the National Archives in 2004, there is no basis to fail to unseal the
requested transcripts. In other words, not only was Sater’s conviction made public by the
government in its March 2000 press release, his cooperation was made public by the clerk of the
Eastern District no later than that 2004 delivery to the National Archives of the entirety of
Sater’s 98-cr-1101 file.
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        Moreover, while the Archives confirms that your honor pulled the Sater file from its
public situs there in 2010, no one has ever pulled (other than copied, leaving the originals there
at the Archives) the Lauria file, which the Archives confirms was publicly shelved there at the
same time in 2004. It has remained there ever since. And that means that Document Number 12
on the Lauria docket, 98-CR-1102, was made public in 2004 and has been public ever since.
That item is a letter, now again available on ECF, written by the DOJ in 2002 which overtly
describes both Sater and Lauria as cooperators who had pled guilty.
        Second, after full submission of my motion, in May 2018 Mr. Joseph Giannini came
forward to me without notice, of his own accord, and established that he was the attorney for
Daniel Persico Jr. during the related U.S. v. Coppa case (00-cr-196), which – your honor will
recall – was the case in which Sater, Lauria and Klotsman were cooperating as unindicted co-
conspirators. (Exhibit “B”).
        Your honor will also recall that the government and Mr. Sater’s counsel maintained that
Sater’s co-conspirator Salvatore Lauria was assaulted by Daniel Persico Jr. in Brooklyn, and that
Persico had threatened to kill or otherwise harm Lauria and Sater because Persico had only just
recently learned (because of alleged disclosures by Oberlander and/or Lerner) that Sater and
Lauria were cooperators. Specifically, the government and Mr. Sater’s counsel represented to
this court that Persico only learned of Sater’s cooperation because Oberlander and/or Lerner
passed this information to Mr. Persico’s attorney Gerald Shargel.
      In fact, Sater's counsel not only repeated these allegations before Judge Cogan in seeking
contempt sanctions, he did so under oath, under penalty of perjury.
        Mr. Giannini’s affidavit puts the lie to those claims, and demonstrates that a fraud has
been perpetrated on, and in, these courts, as well as on Mr. Oberlander, on me, and on the public.
And there is little doubt that the United States Supreme Court was also misled when it was told
in 2013 that while there had never before been any evidence of any risk to Sater and his family,
just recently his fellow cooperator Lauria had been assaulted by Persico and his life threatened.
       Mr. Giannini's documents show that he and his client Persico knew that Lauria and Sater
were cooperators as far back as 2000, not only because it was obvious from the nature of the
charging instruments, but because the government provided 302's and other information that
confirmed it.
        Additionally, Mr. Giannini makes clear that he, not Mr. Shargel, was Persico's lawyer
from the inception. The Giannini affidavit demonstrates that Sater and his lawyers have
submitted provable fabrications, even under oath, in their filings before the EDNY to paint a
false story that Oberlander and Lerner were putting Sater’s life in danger by revealing
information to attorney Shargel, who in turn would (and allegedly did) reveal such to Persico.
Yet, Shargel was not even the lawyer for Persico in the Coppa case—a fact that is no longer
easily demonstrable from the PACER docket, which has apparently been altered. We can say that
because we have copies of the docket going back years, in several iterations, which show that it
was changed to remove identifying information as to who was Persico’s counsel. Early iterations
of the docket show that Mr. Giannini was Persico’s counsel, but sometime after the government
and Sater’s counsel alleged that Shargel was Persico’s counsel, Mr. Giannini’s information was
removed.



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       Mr. Giannini states in his affidavit that he “stand[s] ready to testify” regarding these
matters, and will – if asked to do so – sufficiently establish the validity of his written testimony,
with documentary evidence demonstrating that Persico knew from the day of his arraignment –
March 2, 2000 – that Sater was a cooperating witness who would testify against him. That is, the
cat was out of the bag in 2000. Mr. Giannini will further testify that Mr. Shargel was never
involved in Mr. Persico’s representation.
        Accordingly, it is respectfully submitted that, as there is and has been for fifteen years, at
least, no legitimacy to the idea that Mr. Sater will suffer harm – other than a long-overdue
disgrace for his and his counsel's roles in this fraud – by the disclosure of his identity as a
cooperator, I request that the transcripts be unsealed immediately in their entirety, but certainly
at least for now to the extent to which the government and Mr. Sater have already stipulated.
        Respectfully, in closing I repeat and emphasize that, as motions to unseal must be taken
up immediately, your honor must unseal the requested transcripts immediately and in their
entirety, because there was never a lawful sealing in this case. Your honor yourself stated years
ago in this very case, when the docket was "accidentally" made public in August 2012 by the
EDNY clerk, that this circuit has held what should be obvious anyway – that no court can
pretend to the authority to reseal a document which the government or court has allowed loose
into the public domain.
        In the case your honor referred to, Gambale v. Deutsche Bank, 377 F.3d 133, 144 n.11
(2d Cir. 2004) (“[o]nce [in-formation] is public, it necessarily remains public” and further stating
that “[o]nce the cat is out of the bag, the ball game is over”). In Gambale, the document in
question, a settlement agreement, had been made public by an SDNY court and stayed public all
of three months, and that was enough for the Second Circuit to confirm that it had lost any
authority it had ever had to restrict public access to it.
        Here, on the other hand, that material was made public in the National Archives fifteen
years ago, and most of it remains untouched there to this day, the rest, again, removed by your
honor after it had been sitting there publicly open and available for six years – as your honor
yourself noted during the July 20, 2010 hearing, when your honor stated that you had pulled the
Sater file back from the National Archives and found no indication of any sealing order in it.
         Mr. Giannini stands ready to testify, in the event the court wishes to lay to rest any doubt
of the fraud perpetrated here, or simply wishes to expose Mr. Giannini to that great engine of
truth, cross-examination.
                                        Respectfully submitted,
                         THE LAW OFFICE OF RICHARD E. LERNER, P.C.

                                         Richard E. Lerner
cc:    To Parties -- Via ECF

Enclosures:    Exhibit A:      Letter of June 8, 2018 from the National Archives.
               Exhibit B:      Affidavit dated May 29, 2018 of Mr. Joseph Giannini, with
                               exhibits A through I



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